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                                                               November 3, 2011



VIA ECF FILING AND COURTESY COPY
The Honorable Arthur D. Spatt
United States District Courthouse
100 Federal Plaza
Central Islip, New York 11722

              Re: Bernhard v. Central Parking System of New York
                  Index no. 10-Cv-5596 (ADS)(ETB)

Your Honor:

        This firm represents the Plaintiffs in the above action. This action includes
fiduciary claims against a “John Doe” defendant because Plaintiffs were unable, at the
time the complaint was filed, to identify the representative of Central Parking (Central)
who had discretion and control over payment of delinquent contributions owed to the
Plaintiff funds.

        During the deposition last Friday of Sonya Mitchell, Central’s payroll manager,
Plaintiffs learned that Ms. Mitchell is the person invested by Central with discretion and
control over payment of the delinquent contributions and the person who determined
not to pay the amounts at issue in this case. Therefore, she is the person against whom
the “John Doe” claims are asserted.

        Please note that, although Plaintiffs and the Fund auditor have been dealing with
Ms. Mitchell on the claims since the audit was initiated, they were not aware that Ms.
Mitchell had been afforded final authority to determine payment of the amounts claimed
until she so testified during her deposition.

       Plaintiffs respectfully request permission to amend the complaint, pursuant to
FRCP 15, to replace “John Doe” with Ms. Mitchell. Such amendment would aid Plaintiffs
in presenting the merits of their case and will not prejudice Defendants or Ms. Mitchell
since Ms. Mitchell has been involved with the audit, the claims herein, and this legal
action at all relevant times.

       Regarding FRCP 15(c),Plaintiffs believe that the amendment would relate back
to the date of the original pleadings. The requested amendment would assert claims
identical to those that arose out of the conduct and occurrences set forth in the original
pleadings. Moreover, Ms. Mitchell’s defenses will be the same ones already asserted by
Defendants. Nor should this amendment surprise Ms. Mitchell. The complaint alleged
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claims against an unnamed representative of Central who had authority to determine
and pay the amounts claimed by the Funds. Surely, Ms. Mitchell knew that this was her.


             Respectfully submitted,

Law Offices of Campbell & Associates, P.C.
             /s/
By: Susan M. Bruno


cc: Douglas Rowe, by ECF only


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